UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
RICKY S. HUNNICUTT,
Petitioner,
v. Case No. 8:14-cv-3216-T-27AAS
SECRETARY, DEPARTMENT
()F C()RRECTIONS,
Respondent.
f
QMEB

Ricky Shawn Hunnicutt, a Florida inrnate, filed a counseled petition for Writ of habeas corpus
under 28 U.S.C. § 2254 challenging his Hillsborough County convictions for burglary of a dwelling
With assault, aggravated assault, and three counts of sexual battery by use of threats of force. (Dl<t.
l). Respondent contends the petition is time barred and otherwise opposes relief. (Dkt. 15).
Hunnicutt filed a reply. (Dkt. 21). Upon considerationJ the petition is DENIED.

PR()CEDURAL HIST()RY

Hurmicutt Was convicted alter a 1991 jury trial of burglary of a dwelling With assault,
aggravated assault, and three counts of sexual battery by use of threats of force (Dkt. 17, Ex. 5).
I-Ie Was sentenced to four life tenns and a consecutivel O-year term. (Dkt. 17, Ex. 6, EX. 7 at 32). His
convictions Were affirmed but the appellate court directed the minimum mandatory prison terms to
run concurrently (Dkt. 17, Ex. il). His 1995 postconviction motion Was denied (Dkt. 17, Ex. ]3,

17). The appellate court directed that his habitual offender sentences run concurrently (Dl<t. 17, Ex.

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2l). An amended sentence was entered October 18, 2000. (Dkt. 17, Ex. 22). I-le did not appeal.

Hunnicutt`s postconviction proceedings span more than a decade. ln 2013, the state appellate
conit affirmed, per curiam the denial of postconviction relief. (Dkt. 17, Exs. 23, 25, 34, 38, 44).
The Florida Supreme Court denied his petition for writ of habeas corpus. (Dkt. 17, Exs. 46, 49).

TIMELINESS ()F PETITION

Under the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), “a state prisoner
ordinarily has one year to file a federal petition for habeas corpus, starting from ‘the date on which
the judgment became final by the conclusion of direct review or the expiration of the time for
seeking such review.’ 28 U.S.C. § 2244(d)(1)(A).” McQuiggin v. Perkins, 133 S. Ct. 1924, 1929
(2013). “If the petition alleges newly discovered evidence, however, the filing deadline is one year
from ‘the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.’ § 2244(d)(1)(D).” (]d. ). Additionally, “[t]he time
during which a properly filed application for State post-conviction or other collateral review With
respect to the pertinent judgment or claim is pending shall not be counted toward any period of
limitation under this subsection.” 28 U.S.C. § 2244(d)(2). An application is “properly filed” when
“its delivery and acceptance are in compliance with the applicable laws and rules governing filings.”
Ar!uz v. Bennert, 531 U.S. 4, 8 (2000).

Hunnicutt’s October lS, 2000 amended judgment was final Novernber 17, 2000, When the
time for filing a direct appeal expired1 See Armslrong v. Sz‘ate, 148 So. 3d 127 (Fla. 2d DCA 2014).

His limitation period commenced November 1 8, 2000, and ran for 226 days until July 2, 2001 , when

 

' See Ferreira v. Sec '_v, Dep ’t of Corr., 494 F.I`)d 1286, 1293 {1 lth Cir. 2007) (“Bz#'ton [v. Stewarl, 549 U.S.
147 (20()7)] makes clear that the writ and AEDPA, including its limitations provisions, are specifically focused on the
judgment which holds the petitioner in confinement.”).

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he filed a postconviction motion. (Dkt. 17, Ex. 23). That motion was pending when he filed his 2008
amended postconviction motion (Dl<t. 17, Ex. 34). 'l"he motions continued to toll his limitation
period until the mandate in the postconviction appeal issued on Decern`oer 30, 2013. (Dkt. 17, Exs.
38, 45).2 The balance of the limitation period expired without further tolling Accordingly, his
December 29, 2014 petition is untimely under § 2244(d)(1)(A).

Newly discovered evidence

Hunnicutt argues that his petition is timely under § 2244(d)(1)(D) based on newly discovered
evidence that “carne to light” in 2001 after he made a public records request to the Florida
Department of Law Enforcement. (Dkt. 21 at 16). l-le alleges that “{a]s a result of his request and
the discovery of this evidence," he filed his July 2001 postconviction motion and August 2001 notice
seeking DNA testing under “newly enacted Rule 3.853 of the Florida Rules of Crirninal Procedure.”
(Id. ). l-le contends these motions “produced newly discovered exculpatory” evidence and therefore
he had one year from the discovery of this evidence, subject to statutory tolling, to file his petition
under § 2244(€1)(1)(1)). (Dkt. 21 at 18).

During the postconviction proceedings initiated by his 2001 postconviction motion, the state
trial court required the State to conduct DNA testing on items collected at the victim’s horne where
she had been assaulted in 1991 . FDLE analyst Bencivenga conducted testing on two items and issued
a June 22, 2005 reportl (Dkt. 17, Ex. 55). Bencivenga determined that the DNA profile on the

sample from the victim’s bed comforter demonstrated the presence of a mixture, and that I-Iurmicutt

 

l l-lunnicutt contends that his “conviction was final upon conclusion of the second direct appeal” (Dkt. 1 at 4),
and his one-year limitation period under § 2244(d)(1)(A) began with the issuance of the December 30, 2013, mandate
in the postconviction appeal (Dkt. 21 at 17). However, as noted, he did not appeal his 2000 amendedjudgment, which
was final on Novernber 17, 2000. His limitations period therefore began on November 18, 2000.

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was excluded as a contributor of the major DNA profile 'l`he DNA profile for the minor contributor
could not be conclusively determined (Id. ). The sample from the bed sheet did not contain any DNA
foreign to the victim (Id.).

Ground One is Tirnelv

in Ground Gne, Hunnicutt contends that these DNA test results constitute newly discovered
evidence, and raises a freestanding claim of` actual innocence (Dkt. 1 at 15). In Ground Five, he
alleges that his state collateral appellate counsel rendered ineffective assistance (Dkt. 1 at 37).
These grounds are timely under § 2244(d)(1)(D).3

Grounds Two Three and Four are Untimelv

In Grounds Two and 'l`hree, he alleges violations of Giglio v. United Sml'es, 405 U.S. l50
(1972) and Brady v. Maryland, 373 U.S. 83 (1963). In support, he relies on documents he obtained
as a result of his public records request and the June 25, 2001 correspondence from FDLE in
response to that request (Dkt. 2-1, Pet. Ex. G). However, he does not contend that FDLE objected
to his public records request or explain why he could not have discovered that information earlier
with the exercise of diligence See, e.g., Clif/on v. Sec ’y, Dep ’I ofCorr., 2012 WL 3670264, at *4
(M.D. Fla. Aug. 27, 2012) (unpublished) (to the extent petitioner alleged that he was unaware of
documents in prosecutor’s file at the time of trial, he failed to demonstrate he acted diligently in
waiting two years after his conviction was affirmed to request the tile available under Florida’s

public records law once his conviction and sentence were final).

 

3 When Bencivenga’s 2005 report issued, I-lunnicutt’s 2001 postconviction motion was pending Tolling the
time his 2001 and 2008 postconviction motions were pending, that is, until the December 30, 2013, mandate issued in
his postconviction appeal, ground one is timely. As to ground tive, the factual predicate for the underlying claims he
alleges collateral appellate counsel failed to raise was discoverable when his amended judgment was final. However,
his claim that his appellate counsel was ineffective for failing to raise the issues was discoverable when counsel filed the
initial briet`. (Dl<t. 17, Ex. 41). To]|ing the time the appeal was pending, ground five is likewise timely

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In Ground Four, Hunnicutt alleges that his trial counsel rendered ineffective assistance by
failing to: request further DNA testing, request and review all FDLE testing notes and data, review
updated reports of analyst Marian I-Iildreth, object to analysts Karen Ostman and David Baer as
experts on DNA evidence, examine chain of custody of evidence, object to the introduction of
mislabeled and tampered hair evidence consult with necessary experts, and present an alibi defense
(Dkt. 1 at 33-34).

The factual predicate for these claims is: (1) information that i-lunnicutt allegedly provided
to counsel before trial, (2) information in FDLE documents Which existed at the time of trial, (3)
testimony and evidence presented during trial, and (4) testimony from the 1998 state evidentiary
hearing All of this could have been discovered with the exercise of due diligence at the latest, when
his amended judgment was final in 2000.

Applying § 2244(d)(1)(i)), Grounds Two, Three and Four are untimely because the factual
predicate for these grounds was known or discoverable through the exercise of due diligence when
his amended judgment was final. Accordingly, these grounds are time barred under § 2244(d)(1)(A)
because Hunnicutt failed to raise them in a federal habeas petition within one year of the date his
amended judgment was final, excluding the time his postconviction motions were pending in the
state court.4 And even if these grounds are timely, habeas relief is not warranted

STANDARD ()F REVIEW

Under the Anti~Terrorism and Effective Death Penalty Act of l 996 (“AEDPA”), habeas relief

 

4 ln his reply (Dl<t. 21 at 19-20), he cites Mchiggin v. Perkins, 569 U.S. 383 (2013), which holds-that actual
innocence if proved, serves as a gateway through which a petitioner may pass when the impediment is the expiration
of the statute of limitations To the extent that he asserts actual innocence to overcolne the AEDPA’s one-year limitation
period, he fails to make the required showing1 as discussed in]i'n.

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can only be granted if a petitioner is in custody “in violation of the Constitution or laws or treaties
of the United States.” 28 U.S.C. § 2254(a).5 The petitioner must demonstrate that the state court’s
adjudication of his federal claim resulted in a decision that was contrary to, or involved an
unreasonable application of, clearly established federal law, or resulted in a decision that was based
on an unreasonable determination of the facts in light of the evidence presented in the state court
proceeding 28 U.S.C. § 2254(d)(1)-(2).
DISCUSSION

Ground 0ne: “Mr. Hunnicutt is a wrongfully convicted Defendant who demonstrates actual
innocence and has an independent basis for review. The continued incarceration of Mr. I-Iunnicutt
violates his rights to due process of law, constitutes cruel and unusual punishment and would be a
manifest injustice.”

(Dkt. l at 7). Ground One raises a freestanding claim of actual innocence, alleging that his continued
incarceration violates due process and constitutes cruel and unusual punishment See Cress v.
Pcilmer, 484 F.$d 844, 854 (6th Cir. 2007) (“Cress contends that, given ‘overwhelming’ proof of his
innocence his continued incarceration violates his due process rights, an argument that has been
characterized as a free-standing innocence claim when not coupled with allegations of constitutional
error at trial.”) (citing Schlrm v. Delo, 513 U.S. 298, 314-17 (1995) (explaining the difference
between a procedural innocence claim and a substantive innocence claim)). See also Herrera v.
Col!r`ns, 506 U.S. 390, 417 (1993) (stating that it would “assurne, for the sake of argument in
deciding this case, that in a capital case a truly persuasive demonstration of ‘ actual innocence’ made

after trial would render the execution of a defendant unconstitutional, and warrant federal habeas

relief if there were no state avenue open to process such a claim”).

 

5The AEDPA applies Wilcox v. F!n. Dep’t ofCorr., 158 F.3d 1209, i210 (l lth Cir. 1998).

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'l`he Suprerne Court has “not resolved whether a prisoner may be entitled to habeas relief
based on a freestancling claim of actual innocence.” McQuiggz`n v, Perkins, 133 S. Ct. 1924, l93l
(2013) (citing Herrem, 506 U.S. at 404-05). Eleventh Circuit precedent “forbids granting habeas
relief based upon a claim of actual innocence, anyway, at least in non-capital cases.” Jordan v.
Sec ’y, Dep’! ofCorr., 485 F.3d 135l, 1356 (l lth Cir. 2007). Even assuming that a freestanding
claim of actual innocence is a cognizable claim, the standard for establishing a freestanding claim
of actual innocence is “extraordinarily high,” and the showing for a successful claim would have to
be “truly persuasive-” Herrera, 506 U.S. at 417.

Hunnicutt alleges that “this case has an inconsistent identification, an unsecured crime scene,
inconsistent versions oftiming, an alibi defense, exonerating DNA, falsely presented evidence in the
form of DNA evidence and hair analysis testimony which was clearly false and misleading,
intentionally withheld evidence, and ineffective assistance of counsel at both the trial and appellate
court level.” (Dl<t. l at l6). Notwithstanding, he is unable to succeed on this claim, as he does not
meet the Schlup standard, which requires him to demonstrate that, in light of new evidence, “it is
more likely than not that no reasonable juror would have found [him] guilty beyond a reasonable
doubt.” lat, at 327. Specifically, he has not presented new evidence that establishes his innocence

The claim of exonerating DNA evidence

As background, Hunnicutt was convicted of burglary of G.R.’s home and committing
aggravated assault and multiple acts of sexual battery on G.R. during the early morning of.lune 29,
l99l. The attack occurred when G.R. was in bed with her two-year old child. G.R. observed
Hunnicutt’s face when he opened a bedroom curtain during the attack and recognized him as a former

resident of the mobile home park. At trial, she identified him as her attacker.

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FDLE analyst Karen Ostman tested items collected from G.R. and the scene for the presence
of semen and conducted blood and enzyme typing and secretor status testing At trial, she testified
that, based on her finding that Hunnicutt was a non~secretor, he was included in the percentage of the
population that could have produced semen on G.R.’s parity liner, bed sheet and comforter. (Dkt. 17,
Ex. 4, T 469, 484~86). Hunnicutt contends that Ostrnan’s testimony was in direct contradiction to
DNA evidence presented by FDLE analyst David Baer at trial and DNA testing in 2005. (Dl<t. l at
12). Baer’s DNA test results are not, however, new evidence of innocence

After Ostman conducted her secretor status testing, Baer conducted DNA testing on the parity
liner and the sample from the bed sheet. I-le found that the male fraction on the panty liner matched
the pattern for G.R.’s boyfriend and did not match Hunnicutt’ s. Baer obtained no result from the male
fraction of the extract from the bed sheet and could make no determination (Dkt. 17, Ex. 4, T 510»
l2, 5 l 6). Since Baer testified at trial about these findings, (id.), his DNA testing is not new evidence
See, e.g._, Bembo v. Sec ’y Dep ’t ofCorr., _ Fed. App’x _, 2017 WL 507{}197, at *3 (l lth Cir. l\/lar.
3(}, 20 l 7') (“[T]estirnony was presented . . . that the medical center’s lab did not detect any semen on
the swabs that were collected from the victim. . . . [T}he jury was already aware of this information
at the time it convicted Bembo, and it is not ‘new evidence’ that was not presented at trial for
purposes of the actual-innocence exception.”) (citing McQuiggz'n, 133 S. Ct. at 1935).

Further, the 2005 DNA test results that Hunnicutt relies on as exonerating evidence do not
establish his actual innocence See Mendoza v. Sec ’y, Fla. Dep ’t of Cor'r. , 659 Fed. App’x 974, 982
(l lth Cir. 2016) (“actual innocence generally requires the presentation of new evidence showing the
petitioner’s innocence”). He contends that “contrary to the testimony at trial, the bed sheet sample

did not contain any DNA foreign to” G.R., the victim. (Dkt. l at 20). Analyst Bencivenga did state

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in her lune 22, 2005 report that no DNA profiles foreign to G.R., the victim, were found on the
sample from the bed sheet. (Dkt. l at 203 Dl<t. l?, Ex. 55). However, that no male DNA was found
on the sheet sample in 2005 does not exonerate him. See, e.g., Case 1-'. Hatch, 731 F.3d 1015, 1043
(10th Cir. 2013) (where uncontested physical evidence presented at trial supported an attack of a
sexual nature and no definitive DNA evidence was presented, later testing, showing the absence of
male DNA or sperm cells on evidence, was neither incriminating nor exonerating and was not a
°‘smoking gun” that exonerated petitioner from participation in the attack).

Likewise, the 2005 DNA testing on the bed comforter sample is not exonerating Although
the analyst stated in her report that Hunnicutt was excluded as the contributor of the major profile,
she also stated that the DNA profile for the minor contributor could not be conclusively determined
(Dkt. 17, Ex. 55 at 2). l`o complete the analysis, she requested buccal cell swabs or a liquid blood
sample from J ames Ward, the boyfriend of G.R. During trial, the State introduced testimony that
G.R. and her boyfriend had consensual intercourse in the bed where the attack later occurred (Dkt.
l7, Ex. 4, T 163-64, 246-47). The 2005 DNA test results do not, however, exclude Ward as a
contributor and therefore do not raise sufficient doubt about Hunnicutt’s guilt to undermine
confidence in the outcome of the trial. Schlup, 513 U.S. at 317.

Further, the DNA evidence developed in 2005 does not contradict G.R.’s trial testimony that
she recognized Hunnicutt When he opened the window curtain during the attack, his face illuminated
by street lighting (Dkt. 17, Ex. 4, T 191, 232). Nor does the 2005 DNA evidence contradict the
testimony that shortly after the attack, G.R. told her brother that she had been raped by “Ricky,”
Hunnicutt’s first name, who once lived in the mobile home park. (Dkt_ 17, Ex. 4, T 266). See, e.g.,

Brown v. Sec ’y, Fla., Dep ’I' ofCorr. 580 Fed. App’x 721, 727-28 (l lth Cir- 2014) (new evidence that

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Brown’s DNA was not on mask at scene did not eliminate him as burglar or contradict the victims’
positive identification of him, and other eyewitness accounts established that one victim called a
burglar by Brown's first name and burglars referred to that victim by a nickname used by daughter
of Brown’s girlfriend).

The prosecution also presented testimony that on the morning of, and prior to, the attack on
G.R., Hunnicutt was in the mobile home park where the G.R. lived. The State introduced the
testimony of Donna Cole that on the evening before the attack, she encountered Hunnicutt outside
the Can'ollwood Cafe. l-le told her that he wanted to have sex with her. She ignored him and went
in the bar. During the course of the evening, Hunnicutt made lewd gestures to other patrons, and after
he asked Cole and her friend to go to the parking lot with him, the bar owner asked him to leave.
After he left, Cole noticed that Hunnicutt was sitting in his car and she notified her husband (Dkt.
17, Ex. 4, 'l` 275~78, 291). When Mr. Cole drove to where Hunnicutt was parked, Hunnicutt drove
off. Mr. Cole followed Hunnicutt, who eventually made a sharp turn into G.R.’s mobile home park.
Mr. Cole estimated the time as about 3 a,m. Hunnicutt did not exit, and Cole left after about five
minutes G.R. testified that she heard someone running in the hallway of her horne at 3:40 a.m. (Dkt.
17, Ex. 4, 'l`l80, 293-94). Obviously, the 2005 DNA evidence does not refute any of this trial
testimony

The claims of an inconsistent identification, an unsecured crime scene,
inconsistent versions of timing, and an alibi defense

Hunnicutt argues that What “likely occurred” is that the Coles were mistaken as to the date
they observed him, as he and the Coles were frequent patrons of the cafe. (Dkt. 21 at 3). He argues

that he Was with his wife most of the evening, “culminating in an argument between 12130 a.m. and

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12:45 a.rn.” (Id.). l-le also contends that law enforcement was called to his house at approximately
1:05 a.m, and he left the residence about 2 a.m. (]a'.) But he does not cites new, reliable evidence
that he was not at the bar when the Coles encountered him and that he did, as Mr. Cole described,
leave the bar and turn into G.R.’s mobile home park at about 3:00 a.m. on the morning of the attack.

Next, Hunnicutt contends that when the attacker left G.R.’s horne, she saw the attacker’s
exposed back but did not identify any tattoos on the attacker. He also cites trial testimony that police
received information from his (then) wife that he had tattoos on his back, arms, and hand. (Dkt. 1 at
7, 8). And he contends that G.R. saw the attacker’s face for only five seconds. Notwithstanding,
G.R.’s testimony about her observations of the attacker and the testimony about Hunnicutt’s tattoos
was presented during trial and therefore does not constitute new evidence See Rozzelle v. Sec ’y, Fla.
Dep ’t of Corr. , 672 F.3d 1000, 1017-18 (l lth Cir. 2012) (evidence is not considered c‘riew” When the
jury heard the substance of virtually all such evidence).

Hunnicutt argues that G.R.’s brother testified that he received G.R.’s call at 2230 a.rn., about
an hour before the attacker left, according to G.R. (Dkt. 1 at 8). He also alleges that G.R. told the
nurse practitioner that she did not know who assaulted her and did not know his name. (Id.). And
in his reply, he alleges that G.R. told her brother that “Ricky,” who used to live in the mobile home
park, raped her, and at trial, G.R. testified that she knew l-Iunnicutt as “Shawn.” (Dkt. 21 at 2). But
the jury was aware of all ofthis.

Next, he alleges that two prints obtained from a screen to a window on the floor of the living
room where entry into G.R.’s horne was gained, did not match his prints. (Dkt. 1 at il). One print
lacked sufficient detail, and the other print did not match Hunnicutt’s prints. (Dkt. 17, Ex. 4, T

347-48). "l`hese findings were presented at trial, (id. ), and therefore, the fingerprint evidence is not

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new. See Johnson v. Ala., 256 F.Bd 1156, 1171 (1 lth Cir. 2001) (explaining that a claim of actual
innocence must be supported by ‘“reliable evidence not presented at trial”). He also contends the
crime scene was not taped off. (Dkt. ) But the jury heard this testimony as well. ln surn, none his
Contentions about G.R.’s identification, the crime scene, or G.R.’s statements presented during trial
constitute new evidence6

Finally, llunnicutt contends that the identification evidence at trial was “significantly flawcd”
and that his contentions about G.R.’s identification and statements are “j ust a few” of the factors that
establish a reasonable doubt about his innocence (Dkt. l at 15). However, he presents no new
evidence that establishes his actual innocence Specifically, he has not shown that in light of the
alleged new evidence he contends is exonerating, it is more likely than not that no reasonable juror
would have found him guilty beyond a reasonable doubt. Sch]up, 513 U.S. at 327.

The 2008!2010 DNA evidence

In support of his claim ofinnocence, l-lunnicutt also addresses subsequent DNA testing on two
cigarette butts that police recovered from G.R.’s home. (Dkt. l at 15-16). I-le contends that during
his postconviction proceedings, the State elected to test the cigarettes, (Dkt. 21 at 13), and the only
evidence that tested positive for his DNA was a “cigarette filter.” (Dkt. 1 at 16). ln 2008, Kristin
Lehrnan_, a forensic biologist with F_DLE, conducted testing on an unknown cigarette butt and a

l\/lontclair brand cigarette butt collected by the police.? lehman developed a profile for Hunnicutt at

 

° llunnicutt argues that an unknown pubic hair from the sexual battery kit supports his claim ofinnocence. (Dkt.
21 at l2). At trial, analyst l-lildreth identified an unknown hair in the pubic combing from the victim. (Dkt. 17, Ex. 3,
T 535-36). Hunnicutt alleges that “[n]o testimony was provided at trial as to who the unknown pubic hair belonged to,”
(Dkt. 21 at 6), but he does not contend that he has new evidence about this hair that establishes his innocence

7 The technician found the cigarettes on the bedroom tloor. (Dkt. 17, Ex. 4, T 3 l2). At trial, G.R. testified that

she did not smoke, her boyfriend did not smoke the Montclair brand, and they did not leave cigarettes in the home (Dkt.
17, Ex. 4, T 204, 207-08, 223-24).

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three loci and found that his profile matched the DNA profile from the unknown cigarette butt.
Lehman requested buccal cell swabs from I~Iunnicutt for re~evaluation of his standard (Dkt. 17, Ex.
29~ l , T 129; Dkt. 22 at 45). in 2010, FDLE analyst Mary Pacheco obtained a full profile ofI-Iunnicutt
and found that his profile matched the DNA profile on the unknown brand cigarette butt. Lehman
and Pacheco testified about their findings during the 201 l state evidentiary hearing (Dkt. 17, Ex. 29-
1, T 108-32; Ex. 29-2, T 41»45).

Hunnicutt alleges that the cigarette butt with his DNA was not a prominent feature at trial.
He contends there is a “reasonable hypothesis” of innocence that the cigarette “filtcr” could only
contain “touch DNA,” since it was not tested for saliva. (Dkt. l at 16). l-le also alleges that this DNA
evidence does not “provide proof of timing to know when DNA was placed on an object, if it was
moved, or how long an object had been in its location.” (Id.). While he gives his interpretation of
the import of the DNA test results on the cigarette butt, he does not allege the existence of new
evidence that another person was in possession of the cigarette butt before it was found at the sceneg

l-Iunnicutt also argues intentional tampering with evidence, undisclosed testing, false and
misleading evidence, and ineffective counsel (Dkt. 21 at 24). But none of these claims raises new
evidence establishing his actual innocence

ln sum, Hunnicutt fails to make "‘a truly persuasive demonstration of ‘actual innocence.”’

Herrera, 506 U.S. at 417. Accordingly, Ground One warrants no relief.

 

3 in his reply, he alleges that the Montclair cigarette collected at the scene does not contain his DNA. (Dkt. 21
at 14). Analyst Lehman in her report stated that “a DNA profile was not obtained from the STR analysis ofthe cigarette
butt f l\/lontclair (Exhibit 20).” (Dkt. 22 at 45). This finding does not constitute new evidence of innocence or guilt.

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Ground Two: “Mr. I-lunnicutt was denied a fair trial due to the introduction of false and misleading
evidence that resulted in a fundamental miscarriage of justice predicated on prosecutorial misconduct,
and a violation of Mr. Hunnicutt’s Due Process Rights under Bmdy and Gr'glfo.”

(Dkt. 1 at 17').

In Ground Two, Hunnicutt contends that the prosecution introduced false, improper and
misleading evidence at trial, including serological testing, DNA testing, and microanalysis of hair
evidence. More specifically, he alleges that the prosecutor presented false and misleading testimony
of analyst Hildreth that she identified pubic hairs from Various items that matched his hair, (Dkt. 1
at 22-23), and false testimony of analyst Ostrnan that he was included as a contributor to semen on
items, in violation of Giglz`o v. United Stares, 405 U.S. 150 (1972). (Dkt. 1 at 26~27). 'l`hese claims
are unexhausted and procedurally defaulted because he did not raise the Gigiio claims in his 2001 or
2008 postconviction motions (Dkt. 17, Exs. 23, 34).9 And he is unable to raise the Giglio claims in
an untimely and successive postconviction motion. See Fla. R. Crim. P. 3.850(b), (h).

A federal court may address the merits of a procedurally defaulted claim if the petitioner

demonstrates either cause for the default and actual prejudice resulting from the alleged constitutional

 

9The petitioner must exhaust available state court remedies for challenging his conviction, 28 U.S.C. §
2254(b)(1), thereby giving the State the opportunity to pass upon and correct alleged violations of its prisoners‘ federal
rights Ba[dwr'n v. Reese, 541 U.S. 27, 29 (2004) (citation and quotation marks omitted). I-le must give the state courts
one full opportunity to resolve any constitutional issues by invoking one complete round of the State’s established
appellate review process. O’.S‘nl[r'vnn v. Boerckel, 526 U.S. 838, 845 (1999).

While l-lunnicutt argued in his initial brief on postconviction appeal that the prosecutor presented false testimony
of Ostman in violation ofGiglio, he did not raise this claim in his postconviction motions. He contends that he presented
the Gig!io claim as to Hildreth’s testimony through his expert’s testimony at the 2011 state evidentiary hearing (Dkt.
21 at l2). l-iowever1 he did not raise a Giglio claim as to Hildreth’s testimony in his postconviction motions and in his
initial brief on postconviction appeai.

And the Florida Supreme Court denied on procedural grounds his state habeas petition which alleged that the
prosecutor violated Gigiio by presenting false testimony of l-lildreth and Ostman. (Dkt. 17, Ex. 46), The Court held that
to the extent l-Iunnlcutt sought a writ of habeas corpus, a petition for extraordinary relief cannot be used to litigate or
relitigate issues that were or could have been raised on direct appeal or in prior postconviction proceedings (Dkt. 17,
Ex. 49). Thls rule is firmly established and regularly followed See Fla. R. Crim. P. -3.850(m) (forrnerly Rule 3.850(1)).
F ederal habeas courts reviewing convictions from state courts will not consider claims that a state court refused to hear
based on an adequate and independent state procedural ground Davila v. Davis, 137 S. Ct. 2062 (2017).

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violation, or that he is actually innocent Johnson v, Alabama, 256 F.3d 1156, l l71 (l ith Cir. 2001).
Hunnicutt has not shown cause to excuse his default and actual prej udice, and he has not shown that
new evidence establishes his actual innocence Accordingly, he is not entitled to review of his
procedurally defaulted Gi`glio claims.

Even if his Giglz`o claims are exhausted, the claims are Without merit To prevail on a Giglz'o
claim, he must prove that: “(l) the prosecutor knowingly used perjured testimony or failed to correct
What he subsequently learned was false testimony; and (2) such use Was material [,] i.e., that there is
any reasonable likelihood that the false testimony could have affected the judgment” of the jury.
Locascio v. Sec ’y, Fla. Dep ’t ofCorr., 685 Fed. App’x 837, 845 (l lth Cir. 2017) (quoting Ford v.
Hall, 546 F.3d 1326, 1332 (l lth Cir. 2008) (internal quotation marks omitted)). The false testimony
is material if it “could . . . in any reasonable likelihood have affected the judgment of the jury.”
Gz`glfo, 405 U.S. at 154. Hunnicurt fails to show that the prosecutor knowingly introduced false
testimony in violation of Gz'g!io.

The hair analysis testimony

I-lunnicutt alleges that the prosecutor presented false testimony from Hildreth that pubic hairs
“matched” I-Iunnicutt. (Dkt. l at '20). Specifically, he contends that Hildreth testified at trial that she
conducted a hair analysis based solely on a microscopic examination and was able to match him to
“at least” nine hairs found at the scene. (Dkt.l at 22). By comparison, he alleges that Hildreth testified
in deposition that she could not declare a match to a particular person based solely on microscopic
examination of the evidence (Id.). Notwithstanding, he has not shown that Hildreth gave false
testimony at trial.

Hildreth testified at trial that she tested two pubic hairs in the debris fold from G.R.’s panties.

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She testified that one pubic hair exhibited the same microscopic characteristic as G.R. ’s standard and
the other pubic hair exhibited the same characteristics as l-lunnicutt’s pubic hair standard (Dkt. 17,
Ex. 4, T 5 39). When the prosecutor asked Hildreth, “So the Defendant’ s pubic hair standard matched
the exhibit mounted on the slide[,]” l-Iildreth responded, “That’s correct.” (Dkt. 17, Ex. 4, T 539).
However, Hildreth also responded that the “characteristics displayed in that questioned hair Were also
displayed in Mr. Hunnicutt’s known pubic hair standard.” (Dkt. l'7, Ex. 4, T 539). And she testified
that eight pubic hairs on G.R.’s bottom sheet displayed the same microscopic characteristics as
l-lunnicutt’s standard (Dkt. 17, Ex. 4, T 550-5 l).

Viewed in its entirety, and in the proper context, l-iildreth’s testimony was not false, as
Hunnicutt contends She testified that she could not state that hair came from a particular person She
explained that could only state that a questioned hair contains the same microscopic characteristics
as an individual’s standard (Dkt. l7, Ex. 4, R T 552).

ln view of Hildreth’s explanation, Hunnicutt also fails to demonstrate that the discrepancy
between Hildreth’s testimony and her deposition testimony was material He contends that the
prosecutor “cornmented on pubic hairs matching him “no less than fifteen times” in closing argument
(Dkt. l at 22). Specifically, he contends that the prosecutor argued that “his pubic hairs Were taken
off the bed sheet and matched the standards that were provided to the lab” and argued, “We’ve got
nine pubic hairs.” (Dkt. 17, Ex. 4, T 649-50). l-lowever, the prosecutor also argued that the analyst
could determine “whether or not the characteristics of a hair strand are similar in characteristics to
another person.” (Dkt. 17, Ex. 4, T 650). But even assuming the prosecutor drew an unwarranted
inference from l-lildreth’s testimony, Hildreth made clear in her testimony that she could not

determine that hair came from a particular person.

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Finally, Hunnicutt argues that Hildreth’s testimony is “troubling” because three hairs on
several items “did not appear to match” him, G.R., or her boyfriend, “leaving the conclusion that the
person who committed the crime has not been held accountable.” (Dkt. l at 24). However, l-lildreth
testified that she could not make a determination that the three hairs were from the same person.
(Dkt. l7, Ex. 4, T 558). Accordingly, this hair evidence does not demonstrate that another man was
the attacker. And the prosecutor presented evidence other than Hildreth’ s testimony that established
Hunnicutt was the attacker, including G.R.’s identification of him and the testimony that he entered
the mobile home park before he attacked her. Considering the evidence, there was no reasonable
likelihood that the challenged testimony of Hildretli affected the jury’s verdict See Gr`glz`o, 405 U.S‘
at 154.

The claim of commingled and intentionally or negligently handled hair evidence

flunnicutt also contends that the State mislabeled and commingled hair evidence that he
contends was a crucial feature in his case. (Dkt. l at 25). He alleges that in her deposition, I-lildreth
described several body and head hairs and one pubic hair collected from a pillow case, but testified
at trial that the pillow case debris contained only one pubic hair. (Dkt. l at 25). l-le contends that his
postconviction counsel and prosecutor Hale inspected the evidence on May 3{), 2007 and agreed that
hair evidence had been commingled, mislabeled or not labeled, and did not match the S.tate’s exhibit
list. (Id_). He further contends that hair evidence was so poorly packaged, handled, mislabeled and
commingled that it resulted in bath faith, leading “one to believe it was intentionally tampered with,”
(Dkt. l at 25). I-lis contentions do not, however, raise a constitutional violation Nor does he argue
that potentially exculpatory evidence Was destroyed in bad faith in violation of the constitutional right

to due process. See Arz'zona v. Yotmgblood, 488 U.S. 51, 58 (1988). And his arguments, even if

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construed to raise such a ciaim, are too speculative to make that showing As the postconviction court
held, he did not provide evidence that the commingling was intentional or in bad faith on the part of
law enforcement (Dkt. 17, Ex. 38 at ll).

The DNA testing testimony

l-lunnicutt alleges that the prosecution presented false and misleading DNA testing evidence
(Dkt. l at 17). l-Iowever, he does not demonstrate that the prosecutor knowingly presented false
testimony of analyst Baer, who conducted the DNA testing on G.R.’s parity liner and bed sheet.
While Hunnicutt cites the 2005 DNA testing conducted on the sample from the bed comforter (Dkt.
l at 20), Baer did not test the comforter. And Hunnicutt’s reliance on the 2005 finding that no profile
foreign to G-R. was found on the bed sheet sample is misplaced That test result does not show that
Baer testimony that he obtained no result from the male fraction was false, considering that he did
not find that result surprising given the sparse number of sperm reported by Ostman. (Dkt. 17, Ex.
4, T 504, 511, 516).

The serology testimony

Hunnicutt alleges that the prosecutor presented false testimony of analyst Ostman in violation
of Gz‘glio. (Dkt. l at 17). He contends that the prosecutor knew when she elicited testimony from
Ostman that Hunnicutt was included as a possible contributor of semen on G.R.’s parity liner, that
analyst Baer had excluded Hunnicutt as to the parity liner. (Dkt. l at 18; Dkt. 17, Ex. 53). But
liunnicutt fails to demonstrate that Ostman’s testimony was false.

At the 201 l state evidentiary hearing, Ostman testified that while technology had improved,
testing based on secretor status was an acceptable standard practice in 1991, and her trial testimony

was not false. (Dkt. 17, Ex. 29~l at 70, 102~03).

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Hunnicutt contends that Ostman did not provide a statistical percentage to support her
testimony that he was included as a possible contributor based on secretor status testing Ostman
testified during the 201 l hearing that her trial testimony was accurate, as the_inference that Hunnicutt
was included because he was a nonsecretor was based on 20 percent of the general population (Dkt.
17, Ex. 29-1, T 90~91). Hunnicutt relies on Dr. l~lerrera’s 2011 testimony that to include or exclude
a person, statistics must be provided and that Ostman’s testimony that Hunnicutt was included was
improper. (Dkt. l at 21; Dkt. 17, Ex. 29-2 at 567-68). l-lunnicutt also contends that during the 2011
hearing, analyst Pacheco testified that it would be wise to have a statistic of some type with a
conclusion (Dkt. l at 27). While this testimony may, in hindsight, pertain to the weight of Ostman’s
conclusions and credibility, none of it demonstrates that her testimony was false

Hunnicutt alleges that Ostman knew she gave false testimony at trial, based on her note of a
conversation with the prosecutor before trial. (Dkt. l at 18). Ostman made a log entry on September
l6, 1991, stating “per conversation [with] C. Brumley [the trial prosecutor], no DNA will be done
(due to exclusion of suspect).” Ostman also noted, “Hairs were returned to agency. She still wants
micro done.” (Dkt. l7, Ex. 29-1, T 68-69 and Ex. 51). This note provides no specifics as to the
phrase, “exclusion of suspect,” and, therefore, Hunnicutt fails to show that this note establishes that
Ostman testified falsely at trial.

Hunnicntt also fails to show that Ostman’s testimony that he was a possible contributor to
semen on items because he was a nonsecretor, was material. The jury knew from Baer’s DNA
analysis that .Hunnicutt’s profile did not rnatch the male profile on G.R.’s parity liner. Hunnicutt
contends that at the very least, Ostman’s testimony connected him to two pieces of “very damaging

evidence, the bed sheet and comforter.” (Dkt. l at 27). However, Ostman also included G.R.’s

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boyfriend as a possible contributor to the semen on these items and the parity liner. (Dkt. 17, Ex. 4,
T 485, 494-95), And when Ostman was asked during trial, “did you form any opinion or conclusions
from which you could link with specificity and certain Mr. Hunnicutt to any of those specimens,” she
responded, “No, l did not.” (Dkt. l7, Ex. 4, T 495).

The Brady claim

Hunnicutt claims that the prosecutor withheld evidence in violation of Bran'y v. Maryland,
373 U.S. 83 (l963). (Dkt. l at 17). i-Ie alleges, based on Ostman’s note, that on Septernber 16, l991,
the prosecutor told Ostman to discontinue DNA testing due to exclusion of the suspect, and to
continue i"micro hair analysis.” (Dkt. l at 18). He alleges that this conversation occurred three months
before trial and “no such testing results have been provided.” (]a'.). He also contends that his trial
counsel was not aware that the prosecutor “had requested no more DNA testing due to the exclusion
of the suspect,” (Dkt.l at 28).

Hunnicutt raised this Brczdy claim in his postconviction memorandum. (Dkt. 17, Ex. 36 at 19).
The postconviction court concluded that Hunnicutt failed to present any evidence that the trial
prosecutor’s conversation with Ostman was an attempt to suppress exculpatory evidence (Dkt. 17,
Ex. 38, at 10). The state appellate court affrrrned, per curiam that ruling The state postconviction
court’s denial of this claim was reasonable

“As recognized in Brady and its progeny, principles of due process dictate that, in a criminal
proceeding the prosecution must disclose evidence favorable to the defendant.” Rr`mmer v. Sec ’y,
Fla. Dep’r ofCorr., 876 F.Bd 1039, 1053 (l lth Cir. 2017) (citing Brady, 373 U.S. at 87 and Banks
v. Dretke, 540 U.S. 668, 691 (2004)). To establish a Broa'y violation, a defendant must prove three

essential elements: (l) that the evidence was favorable to the defendant, either because it is

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exculpatory or impeaching; (2) that the prosecution suppressed the evidence, either willfully or
inadvertently; and (3) that the suppression of the evidence resulted in prejudice to the defendant
Rfmmer, 876 F.3d at 1054 (citing Tttmer v. United Sl'ales, l37 S. Ct. l885, 1893 (20l7), Banks, 540
U.S. at 691, Slrickler v. Greene_. 527 U.S. 263, 281~82 (1999)). Hunnicutt has not shown that the
prosecution suppressed evidence favorable to hirn.

As noted, Ostman made a log entry on, stating “per conversation [With] C. Brurnley [the trial
prosecutor], no DNA will be done (due to exclusion of suspect).” She also noted, “l-lairs were
returned to agency. She still wants micro done.” (Dkt. l 7, Ex. 29~ l , T 68~69 and Ex. 51). She testified
during the lanuary 2011 evidentiary hearing that she had no independent recollection of the
September 16, 1991 conversation (Dkt. 17, Ex. 29»1, T 68). While Hunnicutt ponders what testing
the prosecutor had on that date, he did not confront the prosecutor with that question during the
evidentiary hearing

ln his reply, he alleges that all disclosed DNA testing was dated after September 16, 1991 , and
that “there is no alternative than the glaring cold fact that the State Attorney, l-ICSO, or FDLE
conducted additional testing that excluded” hint (Dkt. 21 at 7). Specitically, he alleges that DNA
testing was conducted that Was not disclosed to him. (Dkt. 21 at 8). However, during the state
evidentiary hearing, he did not present evidence of testing he contends was not disclosed or specific
test results Accordingly, he fails to demonstrate that the prosecution withheld exculpatory test results
See, e. g. _. Jemi'son v. Nagle, 158 Fed. App’x 251, 256 (1 lth Cir. 2005) (petitioner failed to show actual
innocence based on allegation that the prosecutor withheld exculpatory DNA evidence where
petitioner failed to produce the DNA report, and his proffered affidavits of others stating the report

existed did not describe the contents of the report in any detail).

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In denying relief on this Brady claim, the state postconviction court found: “From the
evidence presented, it appears more likely that after considering that Mr. Baer’s original tests only
revealed a DNA profile that matched Mr. Ward, who recently had consensual intercourse on the same
bed, and [G.R.’s] statements that her attacker did not ej aculate, the State did not believe further DNA
testing would produce relevant evidence Consequently, the conversation was simply [the
prosecutor’s] attempt to guide FDLE’s limited resources toward more productive uses.” (Dkt. 17,
Ex. 38 at 10). This finding was a reasonable determination of the facts.

Ostman’s note would not demonstrate that the prosecutor could have discussed Baer’s analysis
on Septernher l6, 1991 , since Baer conducted his DNA testing after the Orlando laboratory received
items on Novemher 1, l99l. (Dkt. 17, Ex. 4, T 501). And Ostman’s note provides no details of any
testing performed or any results, and Hunnicutt did not establish during the evidentiary hearing that
the prosecutor Withheld DNA test evidence that was favorable to him.

Hunnicutt contends that he was not aware that a November 1, 1991 FDLE submission form
stated that vaginal swabs were removed from the sexual battery kit with specific instructions not to
do DNA testing (Dkt. l at 19, 28). l-le also alleges that the sexual battery kit contained an unsealed
Ziplock container (Dkt. 21 at 6). lie does not shown, however, that undisclosed testing was
performed on the swabs, the container, or any other item.

In sum, Hunnicutt fails to demonstrate that the prosecution suppressed favorable evidence,
either willfully or inadvertently Since he fails to satisfy the suppression element, the prejudice
element need not be addressed The state court’s decision rejecting this claim is not contrary to, nor
an unreasonable application of Br'ndy, and was not based on an unreasonable determination of the

facts.

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Untested evidence

Hunnicutt alleges that the state postconviction court ordered the State to perform DNA testing,
but that ten items were not tested. (Dkt. 1 at 20). This argument does not present a cognizable claim
for relief. See Carroll v. Sec ’y Dep 'L Cor'r., 574 F.3d 1354, 1366 (l lth Cir. 2009) (a challenge to a
state collateral proceeding does not undermine the legality of the detention or imprisonment).

Ground 'l`wo therefore does not warrant relief

Ground Three: “'fhe Office of the State Attorney has continuously violated Mr. Hunnicutt’s
constitutional rights under Braa’y and Giglz'o, prior to, during, and after Mr. Hunnicutt’s tria .”

(Dkt. 1 at 29).

in Ground Three, Hunnicutt alleges that the prosecution knew on September 16, 1991 that he
was “excluded on items of evidence used at trial.” (Dkt. 1 at 29). I-Ie also alleges that evidence
known to the prosecution and disclosed to Ostman on Septernber 16, 1991 has not been provided to
him or any of his attorneys and remains a “blatant” Brady violation (Dkt. l at 30). I-lowever, his
claims that the prosecution presented false testimony at trial and withheld favorable evidence have
been addressed And his claim that the State has “continuously violated” his constitutional rights
under Bmdy and Giglio is procedurally defaulted became he did not raise this claim in his 2001 or
2008 postconviction motions When he raised this claim in his state habeas petition (Dkt. 17, Ex. 46),
the Florida Supreine Court denied relief on independent and adequate state procedural grounds when
it held that habeas cannot be used to litigate issues that could he raised in an appropriate
postconviction motion. (Dkt. 17, Ex. 49). He is unable to raise this claim in an untimely and
successive postconviction motion, and he does not make the requisite showing to excuse his default

Even if this ground is exhausted, relief is not warranted Braa'y held that due process requires

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a prosecutor to disclose material exculpatory evidence to a defendant before trial. Ia'. , 373 U.S. at 87.
“The Supreme Court has also concluded that Bmdy does not apply in the postconviction context,
reasoning that ‘la] criminal defendant proved guilty after a fair trial does not have the same liberty
interests as a free man.”’ fn re Bol'z`n, 811 F.3d 403, 408-09 (1lth Cir. 2016) (quoting Dz`st.
Attorney’s ijice for Third Jndicial Dl`sr. v_ Osborne, 557 U.S. 52, 68-69 (2009). Accordingly,
Hunnicutt cannot show that the prosecution has violated Brady by failing to disclose evidence
subsequent to his conviction and sentence And, as has been determined, he has not shown that the
prosecution presented false evidence or withheld favorable evidence before or at trial in violation of
Brady or Gt`glio.

Finally, Hunnicutt alleges that the State disregarded a state court order for DNA testing of a
number of items, including vaginal swabs, (Dkt. 1 at 30), and contends that this Court has the
authority to direct the State to complete the testing (Id.). That essentially invokes a right to
discovery under Rule é(a) of the Rules Governing Section 2254 Cases. But he fails to show good
cause Rule 6(a) provides that “[a] judge may, for good cause, authorize a party to conduct discovery
under the Federal Rules of Civil Procedure . . . .” Rules Governing § 2254 Cases Rule 6(a). Good
cause is shown “where specific allegations before the court show reason to believe that the petitioner
may, if the facts are fully developed, be able to demonstrate that he is . . . entitled to relief.” Bracy
v. Gramley, 520 U.S. 899, 909 (1997) (citation omitted).

Hunnicutt has not proffered sufficiently specific allegations demonstrating reason to believe
that he may, if the facts are fully developed, be able to demonstrate that he is entitled to relief if DNA
testing of the vaginal swabs or other items were ordered

Ground three does not warrant relief.

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Ground Four: “Mr, Hunnicutt was deprived of his Constitutional right to effective assistance of
counsel because his trial attorn'ey, lack Gutinan, Esquire, was deficient in his:

a. F ailure to request further DNA testing;

b. Failure to request and review all FDLE testing notes and data;

c. Failure to review Marian Hildreth’s updated reports;

d. Failure to object to Ms. Ostman and Mr. Baer testifying as experts in DNA

evidence;

e. F ailure to examine chain of custody;

f. Failure to object to the introduction of mislabeled and tampered hair evidence;

g. F ailure to consult with necessary experts; and

h. Failure to present Mr. l-lunnicutt’s alibi defense.”
(Dkt. 1 at 33-34).

lneffective assistance claims are analyzed under the test in Strz`cklandv. Wczshington, 466 U.S.
668 (1984). Strr'ckland requires a showing of both deficient performance by counsel and resulting
prejudice Id. at 687. The standards Stri'ckland and § 2254(d) are both highly deferential, and when
applied in tandem, review is “doubly” so. Harrington v. Rr`chter, 562 U.S. 86, 105 (201 l) (citations
and internal quotation marks omitted).
Claims a, h: Counsel’s alleged failure to request further DNA testing and present an alibi defense

Hunnicutt contends his trial counsel was ineffective in not requesting further DNA testing,
(Dkt. 1 at 33). l)uring the 1998 evidentiary hearing, he testified that he requested counsel to obtain
DNA testing on all items of evidence (Dkt. 1 at 36). His trial counsel testified during the hearing

that he was concerned that testing would produce incriminating evidence Cou_nsel testified that

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Hunnicutt told him that he had an ongoing sexual affair with G.R., had sexual intercourse with her
in her bed on three or four occasions, and was at her home the night in question10 Accordingly,
counsel planned to present a consent defense

When Hunnicutt told the state trial court at a pretrial hearing that his was a case of mistaken
identity, however, the defense was committed to an identification defense and counsel wanted to
proceed to trial as soon as possible to prevent the prosecution from conducting additional DNA
testing Counsel Was concerned that additional DNA testing would produce evidence placing
l-lunnicutt at the scene (Dkt. 17, EX. 16, T 137»38). I-Ie and Hunnicutt discussed conducting testing
on a cigarette butt and pubic hairs at the scene He provided Hunnicutt an assessment that the better
approach was to proceed to trial and argue that the State had not met its burden to establish guilt
beyond a reasonable doubt. (Dkt. 17, Ex. 16, T 139). Hunnicutt alleges that the version that he
“allegedly” provided counsel did “not involve any sexual act with {G.R.] that evening,”and counsel
failed to present a “potential” evidence pointing to another suspect (Dkt. l at 34).

In denying relief, the state trial court noted counsel’s concern that additional DNA testing
would inculpate l-Iunnicutt and held that l-lunnicutt failed to meet Slrickland’s performance prong,
as he failed to show how counsel was not functioning as the counsel guaranteed him by the Sixth
Aniendment. (Dkt. l7, Ex. 17 at 7). “When § 2254(d) applies, the question is not whether counsel’s
actions were reasonable The question is whether there is any reasonable argument that counsel
satisfied Strr`ckland's deferential standard.” Harrz'ngton, 562 U.S. at 105.

ln assessing a lawyer’s performance "[c]ouits must ‘indulge [the] strong presumption’ that

 

m Hunnicutt told counsel that he and G.R4 “made out” and when she went into the bathroom at 3.a.m. and saw
“passion marks” on her neck, she stated, “Jim is going to see this.” (Dkt. 17, Ex. 16, T 134-36). He told counsel that
when he threatened to expose the relationship to her boyfriend, G.R. stated, “if you do you will regret it.“ (Id.).

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counsel’s performance was reasonable and that counsel ‘rnade all significant decisions in the exercise
of reasonable professional judgment.’" Chandler v. United States, 218 F.Bd 1305, 1314 (1 lth Cir.
2000) (en banc), cert denied 531 U.S. 1204 (2001). "Tlie inquiry into whether a lawyer has provided
effective assistance is an objective one: a petitioner must establish that no objectively competent
lawyer would have taken the action that his lawyer did take." Id. (ci{ing Cliana'ler, 218 F.3d at 1315).

Moreover, counsel’s trial strategy cannot be second guessed, as “j udicial scrutiny of counsel’s
performance must be highly de'ferential.” Chandler, 218 F.3d at 1314 (quotz'ng Stri`ckland v.
Washington, 466 U.S. at 689). Tactical decisions within the range of reasonable professional
competence are not subject to collateral attack, unless a decision was so “patently unreasonable that
no competent attorney would have chosen it.” Aa'ams v. Wafnwright, 709 F.2d 1443, 1445 (l lth Cir.
1983). For example tactical decisions such as calling some witnesses and not others (“the epitome
of a strategic decision”), deciding whether to pursue residual doubt or another defense, and relying
on line of defense to exclusion of others will not be second guessed, even if the prove to be
unsuccessful Chana'ler, 218 F.3d at 1315, n. 15. In sum, as counsel’s trial strategy is presumptively
reasonable the determination is not “that the particular defense lawyer in reality focused on and, then,
deliberately decided to do or not do a specific act.” Rather, the presumption is “that what the
particular defense lawyer did at trial . . . were acts that some reasonable lawyer might do.” Chandler,
218 F.3d at 1314-15.

Considering counsel’s assessment that a consent defense was weak, (Dkt. l'/, Ex. 16, 'l` 138),
and his decision to proceed to trial as soon as possible to avoid addition DNA testing which he feared
would place Hunnicutt at the scene if the mistaken identity defense was presented, there is a

reasonable argument in the record that counsel’s performance satisfied Strickland’s deferential

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standard Clearly, counsel’s performance has not been shown to have been outside “the wide range
of professionally competent assistance.” Van 190ka v. Fla. Depr. QfCorrecn`ons, 290 F.3d 131 8, 1322
(11th Cir. 2002)(qu0ting Strickland, 466 U.S. at 690). And counsel’s strategic decisions cannot be
second guessed, as Hunnicutt attempts to do. Accordingly, the state court reasonably applied
Strickland and made a reasonable determination of the facts.

Hunnicutt also contends that trial counsel failed to present an alibi defense (Dkt. 1 at 34).
Specifically, he alleged in his 1995 postconviction motion that his trial counsel was ineffective for
failing to call his former wife to provide an alibi. Hunnicutt argues that his former wife testified at
the 1998 hearing that he came home between 3:30 and 4:30 a.rn. (Dkt. l at 35)." Hunnicutt also
argues that his former wife’s nephew, Robeit Browning, testified during the 1998 hearing that
Browning lived with him on June 29, 1991 and Hunnicutt came home about 3:30 a.m. (Ia'.).

During the l998 hearing, trial counsel testified that l-Iunnicutt did not discuss with him the
possibility of calling his fortner wife to provide an alibi. And counsel testified that he and l-Iunnicutt
were aware that Deputy Perez, who spoke with Hunnicutt’s wife, would have testified that
Hunnicutt’s wife did not know his whereabouts before 5 :05 a.m. on the day in question12 (Dkt. 17,
Ex. 16, T 121»122). Counsel also testified that llunnicutt did not inform him about Robert Browning,
as the postconviction court found in denying relief. (Dkt. at 6). Counsel testified that Hunnicutt told

him that his wife could testify that he did not smoke the brand of cigarettes found at the scene and tha

 

" Mrs. Phil|ips, his fenner wife, testified at the 1998 hearing that she could have told police that he came home
about 4:30 cr 5:00 a.m. (Dkt. 17, Ex. 16, T 19). In denying relief`, the postconviction court found that the wife’s memory
was not clear as what she told police when first interviewed 'l`he state court noted that Deputy Perez testified during his
deposition that Hunnicutt’s wife told him that Hunnicutt left their home about 2 a.rn. and returned at 5; 15 a.m. (Dkt. 17,
Ex. 17 at 5).

12 Counsel testified that the officer’s report stated that I-lunnicutt’s wife advised that she did not see him until
5:05 a.m. (Dkt. 17, Ex. 16,'1" 123). At trial, the victim testified the attacker left about 4:45 a.m. (Dkt. 17, Ex. 4, T 197).

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he used a lighter instead of matches.13 (Dkt. 17, Ex. 16, T 126). However, counsel thought that the
jury would find her testimony self~serving, and did not want to forego the advantage of the opening
and rebuttal closing arguments available under state procedures at the time. (Dkt. 17, Ex. 16, T 125).
This was likewise a Sound tactical decision within “the wide range of professionally competent
assistance” which will not be second guessed.

In denying this claim, the state court noted that counsel testified that Hunnicutt never
discussed the possibility of calling his Wife to provide an alibi. (Id. ). Considering counsel’s testimony
that llunnicutt did not mention Browning or tell him that his wife could provide an alibi, the record
establishes there is a reasonable argument that counsel’s performance satisfied Strz`ckland. And in
addressing counsel’s testimony as to the wife’s information about the cigarettes and matches, the state
court found that counsel made a tactical decision that did not amount to ineffective assistance and
denied relief on Strz'ckland’s performance prong (Dkt. 17, Ex. 17 at 6).

The state court’s denial of this claim was not contrary to or an unreasonable application of
clearly established federal law under Strz`ckload. Nor was it based on an unreasonable determination
of the facts in light of the evidence presented in the state court proceeding
Claims b through g'. Counsel’s alleged failure to: request and review all FDLE testing notes and
data; review I-lildreth’s updated reports; object to Ostman and Baer’s testifying as DNA experts;
examine chain of custody; object to introduction of mislabeled and tampered hair evidence; and

consult with necessary experts

These claims are procedurally defaulted because Hunnicutt did not raise them in his 1995

 

13 At trial, the victim testified that the attacker lit a match during the attack and left the match book that was
recovered (Dkt. l”.", Ex. 16, T 204, 223-24, 318).

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postconviction motion (Dkt. l7, Ex. 13 at 23-24). And when he raised several of these claims]4 in
his state habeas petition, the Florida Supreme Court denied the petition on independent and adequate
state procedural grounds (Dkt. 17, Exs. 46, 49). He is unable to raise these claims in an untimely
and successive postconviction motion. And he fails to show cause to excuse his default and actual
prejudice Nor does he present new evidence establishing his actual innocence

Ground Five: “ Mr. Hunnicutt was denied effective assistance of appellate counsel due to counsel’s

failure to litigate the Brady and Giglio violations regarding the exculpatory evidence and the hair
evidence and failure to properly argue an actual innocence claim.”

(Dkt. l at 37).

In Ground Five, l-lunnicutt contends his collateral appellate counsel was ineffective This
ground does not raise a cognizable claim for habeas relief. “The ineffectiveness or incompetence of
counsel during Federal or State collateral post-conviction proceedings shall not be a ground for relief
in a proceeding arising under section 2254.” 28 U.S.C. § 2254(1); see also Marrfnez v. Ryan, 566 U.S.
l, 17 (2012) (“Section 2254(1) precludes [a habeas petitioner] from relying on the ineffectiveness of
his postconviction attorney as a ‘ground for relief.”’).15

Ground five does not warrant relief.

Accordingly, it is ()RDERED that:

l. The petition for writ of habeas corpus (Dkt. l) is DENIED.

 

"‘ He alleged in his State petition that trial counsel failed to: request DNA testing, request and review FDLE
testing notes and data, examine chain of custody of hair and debris, consult with necessary experts, and present any
defense, alibi witnesses, and other potential evidence, and object to false testimony (Dkt. 17, Ex. 46 at 41~43).

15llunnicutt alleges that his appellate counsel was ineffective for not properly litigating issues that presented
to the trial couit, “partic.ularly the blatant false and misleading testimony concerning DNA and hair evidence.“ (Dkt. 21
at 23). He cannot show cause for his default of the underlying Gr'glr‘o claims under Mnrtr`nez v. Ryan, 566 U.S. l (20l 2).
'l`he equitable rule established in Martinez applies only to excusing a procedural default of ineffective-trial-counsel
claims See Chavez v. Sec’y, F!n'. Dep’t ofCori'., 742 F.Bd 940, 945 (l lth Cir. 2014).

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2. The Clerk is directed to enter judgment against Petitioner and to close this case.
Certificate of Appealability

Petitioner is not entitled to a certificate ofappealability. 28 U.S.C. § 2253(c)(1). He is entitled
to a COA only if he demonstrates that reasonable jurists would find debatable whether the § 2254
petition stated “a valid claim of the denial of a constitutional right.” Id.; Slack v. McDaniel, 529 U.S.
473, 484 (2000). To make a substantial showing of the denial of a constitutional right, he “‘must
demonstrate that reasonable jurists would find the district court’s assessment of the constitutional
claims debatable or wrong,”’ Tennard v. Dre!ke, 542 U.S. 274, 282 (2004) (quoting Slack, 529 U.S.
at 484), or that “the issues presented were ‘adequate to deserve encouragement to proceed further.”’
Mfller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quotr`ng Barefoo[ v. Estelle, 463 U.S. 880, 893
n.4 (1983)).

Petitioner cannot make the required showing and therefore is not entitled to a COA or to
appeal fn forma pauperis

6 1'.2'
ORDERED on this day of March, 2018.

 
   

S D. WHITTEMORE
United States District Judge

Counsel of Record

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